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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                                 4:18CR3013

     vs.
                                                              ORDER
MARSHAL MARSHALL,

                 Defendant.


     IT IS ORDERED:

     1)    The motion of Jessica Milburn to withdraw as counsel of record for
           Defendant, (Filing No. 35), is granted.

     2)    Defendant’s newly retained counsel, Carlos Monzon, shall promptly
           notify Defendant of the entry of this order.

     3)    The clerk shall delete Jessica Milburn from any future ECF
           notifications herein.

     April 15, 2018.
                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
